 Case 2:22-cr-20601-PDB-APP ECF No. 15, PageID.45 Filed 02/08/23 Page 1 of 3




                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

United States of America,

              Plaintiff,                        Case No. 22-cr-20601
                                                Honorable Paul D. Borman
vs.

Zaman Mohammed Alshafey,

              Defendant.


                           First Forfeiture Bill of Particulars



      The United States, by and through its counsel, submits this First Forfeiture

Bill of Particulars, pursuant to Rule7(f) of the Federal Rules of Criminal Procedure

to supplement and clarify the forfeiture allegations contained in the Indictment and

to provide notice of specific property the government intends to forfeit upon

conviction.

      The allegations set forth in the Indictment are re-alleged and incorporated

herein by this reference for the purpose of alleging forfeiture pursuant to Federal

Rule of Criminal Procedure 32.2(a) and 18 U.S.C §§ 981(a)(1)(C), 982(a)(1),

(a)(7) and 28 U.S.C. § 2461(c). Upon defendant’s conviction of one or more of the

offenses charged in Counts 1 through 20 of the Indictment, the United States shall

seek the imposition of a forfeiture money judgment against the defendant, in favor
 Case 2:22-cr-20601-PDB-APP ECF No. 15, PageID.46 Filed 02/08/23 Page 2 of 3




of the United States, representing proceeds traceable to each offense, and/or

property involved in the offense. The forfeiture money judgment amount shall be

up to and including the following: Twenty-One Million Nine Hundred Fifty

Three Thousand Nine Hundred Forty Six Dollars and Twenty One Cents

($21,953,946.21).

      This notice does not limit the government from seeking the forfeiture of

additional specific property, including substitute assets.

                                               Respectfully submitted,

                                               Dawn N. Ison
                                               United States Attorney

                                               S/Gjon Juncaj
                                               Gjon Juncaj (P63256)
                                               Assistant U.S. Attorney
                                               211 W. Fort Street, Ste. 2001
                                               Detroit, Michigan 48226
                                               (313) 226-0209
                                               Gjon.Juncaj@usdoj.gov
Dated: February 8, 2023




                                           2
 Case 2:22-cr-20601-PDB-APP ECF No. 15, PageID.47 Filed 02/08/23 Page 3 of 3




                                  Certification of Service

      I hereby certify that on February 8, 2023, the foregoing document was

electronically filed using the ECF system which will send notification of such

filing to all ECF participants.

                                                 S/Gjon Juncaj
                                                 Gjon Juncaj (P63256)
                                                 Assistant U.S. Attorney
                                                 211 W. Fort Street, Ste. 2001
                                                 Detroit, Michigan 48226
                                                 (313) 226-0209
                                                 Gjon.Juncaj@usdoj.gov




                                             3
